         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 1 of 48


                                                                                         FILED
                             UNITED STATES DISTRICT COURT                                  May 01 2023

                                                                                         Mark B. Busby
                           NORTHERN DISTRICT OF CALIFORNIA                         CLERK, U.S. DISTRICT COURT
                                                                                NORTHERN DISTRICT OF CALIFORNIA
                                  SAN FRANCISCO DIVISION                                SAN FRANCISCO

 NESTOR ALMEIDA, individually and on                Lead Case No. 3:21-cv-07109-VC
 behalf of all others similarly situated,
                                                    Consolidated with No. 3:21-cv-07112-VC
         Plaintiff,
 V.                                                 [PROPOSED] AGREED PROTECTIVE
                                                    ORDER REGARDING THE
 APPLE INC.,                                        DISCLOSURE AND USE OF
                                                    DISCOVERY MATERIALS
         Defendant.
                                        Dept.: Courtroom 4 - 17th Floor
----------------------<
 DAPHNE PAREAS and DANIEL FRIEND,       Judge: Honorable Vince Chhabria
 on behalf of themselves and all others
 similarly situated,

         Plaintiffs,
 V.

 APPLE INC.,

         Defendant.



1.     PURPOSES AND LIMITATIONS

       Plaintiffs and Defendant Apple Inc. ("Defendant," and collectively with Plaintiffs, the

"Parties") anticipate that disclosure and discovery activity in this action are likely to involve

production of confidential, proprietary, trade secret, commercially sensitive, and/or private

information for which special protection from public disclosure and from use for any purpose

other than prosecuting this litigation may be warranted. Accordingly, the parties hereby stipulate

to and petition the court to enter the following Protective Order Regarding the Disclosure and

Use of Discovery Materials ("Order" or "Protective Order") setting forth the conditions for

treating, obtaining, and using such information. Pursuant to Paragraph 24 of the Court's Civil

Standing Order, this proposed Order is based on the standard model order for the Northern
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 2 of 48




District; attached hereto as Exhibit A is a redline indicating where this Order deviates from the

Northern District's model order.

        The parties acknowledge that this Order does not confer blanket protections on all

disclosures or responses to discovery and that the protection it affords from public disclosure

and use extends only to the limited information or items that are entitled to confidential

treatment under the applicable legal principles. The parties further acknowledge, as set forth in

Section 13.3, below, that this Protective Order does not entitle them to file confidential

information under seal; Civil Local Rule 79-5 sets forth the procedures that must be followed

and the standards that will be applied when a party seeks permission from the court to file

material under seal. Protected Material designated under the terms of this Protective Order shall

be used solely by a Receiving Party for this case, and shall not be used directly or indirectly for

any other purpose whatsoever.

2.      DEFINITIONS

        2.1.    Challenging Party: a Party or Non-Party that challenges the designation of

information or items under this Order.

        2.2.    "CONFIDENTIAL" Information or Items: information (regardless of how it is

generated, stored or maintained) or tangible things that qualify for protection under Federal Rule

of Civil Procedure 26(c).

        2.3.    Counsel (without qualifier): Outside Counsel of Record and House Counsel (as

well as their support staff).

        2.4.    Designating Party: a Party or Non-Party that designates information or items that

it produces in disclosures or in responses to discovery as "CONFIDENTIAL."

        2.5.    Disclosure or Discovery Material: all items or information, including from any

Non-Party, regardless of the medium or manner in which it is generated, stored, or maintained

(including, among other things, testimony, transcripts, and tangible things), that are produced or

generated in disclosures or responses to discovery in this matter.

        2.6.    Expert: a person with specialized knowledge or experience in a matter pertinent


                                                  2
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 3 of 48




to the litigation who has been retained by a Party or its counsel to serve as an expert witness or

as a consultant in this action and who is: (a) not a past or current officer, director, or employee of

a competitor of a Party, nor anticipated at the time of retention to become an officer, director, or

employee of a competitor of a Party; and (b) not involved in competitive decision-making, as

defined by U.S. Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir. 1984), on behalf of a

competitor of a Party.

       2. 7.   House Counsel: attorneys who are employees of a party to this action. House

Counsel does not include Outside Counsel of Record or any other outside counsel.

       2.8.    Non-Party: any natural person, partnership, corporation, association, or other

legal entity not named as a Party to this action.

       2.9.     Outside Counsel of Record: (i) outside counsel who appear on the pleadings as

counsel for a Party and (ii) partners, associates, and staff of such counsel to whom it is

reasonably necessary to disclose the information for this litigation.

       2.10.   £.arty: any party to this action, including all of its officers, directors, employees,

consultants, retained Experts, and Outside Counsel of Record (and their support staffs). "Party,"

however, does not include any members of the putative class(es) other than the named plaintiffs

in this action (Daniel Friend, Daphne Pareas, Scott Seveland, Patrice Sherman, Nestor Almeida,

Magdaia Casimir, Adelina Lavecchia, Dan Henderson, Maritza Angeles, Tim Inselmann,

William West-Davis, Patricia Medberry, and Azara Colindrez). Should additional pleadings

naming additional individuals as named plaintiffs be filed, such individually named plaintiffs

will also be included within the definition of "Party" for purposes of this Order.

       2.11.   Producing Party: a Party or Non-Party that produces Disclosure or Discovery

Material in this action.

       2.12.   Professional Vendors: persons or entities that provide litigation support services

(e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and

organizing, storing, or retrieving data in any form or medium) and their employees and

subcontractors.



                                                    3
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 4 of 48




       2.13.   Protected Material: any Disclosure or Discovery Material that is designated as

"CONFIDENTIAL" as provided for in this Order. Protected Material shall not include: (i)

advertising materials that have been published or publicly disseminated; and (ii) materials that

show on their face they have been disseminated to the public.

       2.14.   Receiving Party: a Party that receives Disclosure or Discovery Material from a

Producing Party.

3.     SCOPE

       The protections conferred by this Order cover not only Protected Material (as defined

above), but also (1) any information copied or extracted from Protected Material; (2) all copies,

excerpts, summaries, or compilations of Protected Material; and (3) any testimony,

conversations, or presentations by Parties or their Counsel in court or in other settings that might

reveal Protected Material.

       However, the protections conferred by this Order do not cover the following information:

(a) any information that is in the public domain at the time of disclosure to a Receiving Party or

becomes part of the public domain after its disclosure to a Receiving Party as a result of

publication not involving a violation of this Order, including becoming part of the public record

through trial or otherwise; and (b) any information known to the Receiving Party prior to the

disclosure or obtained by the Receiving Party after the disclosure from a source who obtained

the information lawfully and under no obligation of confidentiality to the Designating Party.

Any use of Protected Material at trial shall be governed by a separate agreement or order.

       In addition, nothing in this Order shall (i) prevent or restrict a Producing Party's own

disclosure or use of its own Protected Material for any purpose, and nothing in this Order shall

preclude any Party from showing Protected Material to an individual who prepared the Protected

Material; (ii) be construed to prejudice any Party's right to use any Protected Material in court or

in any court filing with the consent of the Producing Party or by order of the Court; (iii) be

construed to alter the legal burden of proof or persuasion under applicable law in a motion

brought by any Party related to discovery, confidentiality of Protected Material, or the


                                                 4
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 5 of 48




interpretation of this Order, consistent with the section of this Order entitled "Challenging

Confidentiality Designations."

       This Order is entered without prejudice to the right of any Party to seek further or

additional protection of any Discovery Material or to modify this Order in any way, including,

without limitation, an order that certain matter not be produced at all. Any use of Protected

Material at trial shall be governed by a separate agreement or order.

4.     DURATION

       Even after final disposition of this litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of ( 1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after

the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

action, including the time limits for filing any motions or applications for extension of time

pursuant to applicable law. For a period of six (6) months after final disposition of this litigation,

the Court shall retain jurisdiction to enforce the terms of this Order.

5.     DESIGNATING PROTECTED MATERIAL

        5 .1.   Exercise of Restraint and Care in Designating Material for Protection. Each Party

or Non-Party that designates information or items for protection under this Order must take care

to limit any such designation to specific material that qualifies under the appropriate standards.

The Designating Party must designate for protection only those parts of material, documents,

items, or oral or written communications that qualify - so that other portions of the material,

documents, items, or communications for which protection is not warranted are not swept

unjustifiably within the ambit of this Order.

       Mass, indiscriminate, or routinized designations are prohibited. Designations that are

shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary

expenses and burdens on other parties) expose the Designating Party to sanctions.


                                                  5
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 6 of 48




       If it comes to a Designating Party's attention that information or items that it designated

for protection do not qualify for protection, that Designating Party must promptly notify all other

Parties that it is withdrawing the mistaken designation.

       5 .2.   Manner and Timing of Designations. Except as otherwise provided in this Order

(see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or ordered,

Disclosure or Discovery Material that qualifies for protection under this Order must be clearly so

designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:

               (a) For information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing

Party affix the legend "CONFIDENTIAL" to each page that contains protected material.

       A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which

material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed "CONFIDENTIAL." After the

inspecting Party has identified the documents it wants copied and produced, the Producing Party

must determine which documents, or portions thereof, qualify for protection under this Order.

Then, before producing the specified documents, the Producing Party must affix the

"CONFIDENTIAL" legend to each page that contains Protected Material. If only a portion or

portions of the material on a page qualifies for protection, the Producing Party also must clearly

identify the protected portion(s) (e.g., by making appropriate markings in the margins).

               (b) for native files: Where electronic files and documents are produced in native

electronic format, such electronic files and documents shall be designated for protection under

this Order by appending to the file names or designators or metadata information indicating

whether the file contains "CONFIDENTIAL" material, or shall use any other reasonable method

for so designating Protected Materials produced in electronic format. When electronic files or

documents are printed for use at deposition or in a court proceeding, the party printing the


                                                  6
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 7 of 48




electronic files or documents shall affix a legend to the printed document corresponding to the

designation of the Designating Party and including the production number and designation

associated with the native file. If, during any deposition, a party asks questions regarding a .tiff,

.pdf, or other image format version of a document produced in native file format, the other party

may object on the record to the authenticity of the image. After the deposition, if the other party

discovers that the image does not accurately reflect the information contained in the native file,

that party shall notify the questioning party of the discrepancy between the image and native

files, and the Parties shall meet and confer in good faith to confirm the existence of the

discrepancy. If any discrepancy exists between the image and native file, the line of questioning

concerning the image shall be inadmissible for all purposes, including impeachment. If the

image accurately reflects the information contained in the native file, no further action shall be

taken. No Party shall seek to use at trial in this litigation a .tiff, .pdf, or other image format

version of a document produced in native file format without first providing a copy of the image

format version to the Producing Party so that the Producing Party can review the image to ensure

that no information has been altered. However, a party seeking to use a native file as an

attachment or exhibit to a motion or other court filing need not first provide a copy of the image

format version to the Producing Party for inspection.

                (c) for depositions and testimony. that the Designating Party identify on the

record at the time the testimony is given or by sending written notice of how portions of the

transcript of the testimony is designated within thirty (30) days of receipt of the transcript of the

testimony. lfno indication on the record is made, all information disclosed during a deposition

shall be deemed "CONFIDENTIAL" until the time within which it may be appropriately

designated as provided for herein has passed. Any Party that wishes to disclose the transcript, or

information contained therein, may provide written notice of its intent to treat the transcript as

non-confidential, after which time, any Party that wants to maintain any portion of the transcript

as confidential must designate the confidential portions within fourteen (14) days, or else the

transcript may be treated as non- confidential. Any Protected Material that is used in the taking


                                                   7
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 8 of 48




of a deposition shall remain subject to the provisions of this Protective Order, along with the

transcript pages of the deposition testimony dealing with such Protected Material. In such cases

the court reporter shall be informed of this Protective Order and shall be required to operate in a

manner consistent with this Protective Order. In the event the deposition is videotaped, the

original and all copies of the videotape shall be marked by the video technician to indicate that

the contents of the videotape are subject to this Protective Order, substantially along the lines of

"This videotape contains confidential testimony used in this case and is not to be viewed or the

contents thereof to be displayed or revealed except pursuant to the terms of the operative

Protective Order in this matter or pursuant to written stipulation of the parties." Counsel for any

Producing Party shall have the right to exclude from oral depositions, other than the deponent,

deponent's counsel, the reporter and videographer (if any), any person who is not authorized by

this Protective Order to receive or access Protected Material based on the designation of such

Protected Material. Such right of exclusion shall be applicable only during periods of

examination or testimony regarding such Protected Material.

               (d) for information produced in some form other than documentary and for any

other tangible items, that the Producing Party affix in a prominent place on the exterior of the

container or containers in which the information or item is stored the legend

"CONFIDENTIAL."

       5.3.    Inadvertent Failures to Designate. If timely corrected within thirty (30) days of

discovery, an inadvertent failure to designate qualified information or items does not, standing

alone, waive the Designating Party's right to secure protection under this Order for such

material. Upon timely correction of a designation, the Receiving Party must make reasonable

efforts to assure that the material is treated in accordance with the provisions of this Order.

6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

       6.1.    Timing of Challenges. Any Party or Non-Party may challenge a designation of

confidentiality at any time. Unless a prompt challenge to a Designating Party's confidentiality

designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic


                                                  8
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 9 of 48




burdens, or a significant disruption or delay of the litigation, a Party does not waive its right to

challenge a confidentiality designation by electing not to mount a challenge promptly after the

original designation is disclosed.

        6.2.   Meet and Confer. The Challenging Party shall initiate the dispute resolution

process by providing written notice of each designation it is challenging and describing the basis

for each challenge. To avoid ambiguity as to whether a challenge has been made, the written

notice must recite that the challenge to confidentiality is being made in accordance with this

specific paragraph of the Protective Order. The parties shall attempt to resolve each challenge in

good faith and must begin the process by conferring directly (in voice to voice dialogue; other

forms of communication are not sufficient) within 14 days of the date of service of notice. In

conferring, the Challenging Party must explain with particularity the basis for its belief that the

confidentiality designation was not proper and must give the Designating Party an opportunity to

review the designated material, to reconsider the circumstances, and, if no change in designation

is offered, to explain the basis for the chosen designation. A Challenging Party may proceed to

the next stage of the challenge process only if it has engaged in this meet and confer process first

or establishes that the Designating Party is unwilling to participate in the meet and confer

process in a timely manner.

        6.3.   Judicial Intervention. If the Parties cannot resolve a challenge without court

intervention, the Designating Party shall file and serve a motion to retain confidentiality under

Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21 days

of the initial notice of challenge or within 14 days of the parties agreeing that the meet and

confer process will not resolve their dispute, whichever is earlier. Each such motion must be

accompanied by a competent declaration affirming that the movant has complied with the meet

and confer requirements imposed in the preceding paragraph. Failure by the Designating Party to

make such a motion including the required declaration within 21 days (or 14 days, if applicable)

shall automatically waive the confidentiality designation for each challenged designation. In

addition, the Challenging Party may file a motion challenging a confidentiality designation at


                                                   9
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 10 of 48




any time if there is good cause for doing so, including a challenge to the designation of a

deposition transcript or any portions thereof. Any motion brought pursuant to this provision

must be accompanied by a competent declaration affirming that the movant has complied with

the meet and confer requirements imposed by the preceding paragraph.

       The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose

unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to

file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party's

designation until the court rules on the challenge or the challenge is withdrawn in writing.

7.     ACCESS TO AND USE OF PROTECTED MATERIAL

       7.1.    (a) Basic Principles. A Receiving Party may use Protected Material that is

disclosed or produced by another Party or by a Non-Party in connection with this case only for

prosecuting, defending, or attempting to settle this litigation, and may not use such Protected

Material for any other purpose, including without limitation any other litigation, patent

prosecution or acquisition, patent reexamination or reissue proceedings, or any business or

competitive purpose or function. Such Protected Material may be disclosed only to the

categories of persons and under the conditions described in this Order. When the litigation has

been terminated, a Receiving Party must comply with the provisions of section 13 below

(FINAL DISPOSITION).

               (b) Secure Storage: Protected Material must be stored and maintained by a

Receiving Party at a location and in a secure manner that reasonably ensures that access is

limited to the persons authorized under this Order.

               (c) Legal Advice Based on Protected Material: Nothing in this Order shall be

construed to prevent counsel from advising their clients with respect to this case based in whole




                                                  10
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 11 of 48




or in part upon Protected Material, provided counsel does not disclose the Protected Material

itself except as provided in this Order.

               (d) Limitations: Nothing in this Order shall restrict in any way a Producing

Party's use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any

way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become

publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or

known to the Receiving Party independent of the Producing Party; (iii) previously produced,

disclosed and/or provided by the Producing Party to the Receiving Party or a non-party without

an obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court.

       7 .2.   Disclosure of "CONFIDENTIAL" Information or Items. A Producing Party may

designate Discovery Material as "CONFIDENTIAL" if it contains or reflects confidential,

proprietary, and/or commercially sensitive information, including but not limited to trade

secrets, pricing information, financial data, sales information, sales or marketing forecasts,

business plans, sales or marketing strategy, product development information, engineering

documents, testing documents, employee information, and other non-public information of

similar competitive and business sensitivity.

       Unless otherwise ordered by the court or permitted in writing by the Designating Party, a

Receiving Party may disclose any information or item designated "CONFIDENTIAL" only to:

               (a) the Receiving Party's Outside Counsel of Record in this action, as well as

employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the

information for this litigation and who have signed the "Acknowledgment and Agreement to Be

Bound" that is attached hereto as Exhibit A;

               (b) the officers, directors, and employees (including House Counsel) of the

Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);

               (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure


                                                 11
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 12 of 48




is reasonably necessary for this litigation, provided the disclosure is only to the extent necessary

to perform such work; and provided that: (i) such expert has agreed to be bound by the

provisions of the Protective Order by signing a copy of Exhibit A-1, as set forth in Section 7.3

infra; and (ii) such expert accesses the materials in the United States only, and does not transport

them to or access them from any foreign (i.e., outside the United States) jurisdiction (unless such

material originated from or are produced from any such foreign jurisdiction; moreover, the

Parties agree to meet and confer over potential alterations to this Protective Order as reasonably

necessary to enable the parties to take testimony on technical matters in a foreign jurisdiction);

               (d) the court and its personnel;

               (e) court reporters and their staff, professional jury or trial consultants, and

Professional Vendors to whom disclosure is reasonably necessary for this litigation and who

have signed the "Acknowledgment and Agreement to Be Bound" (Exhibit A);

               (f) during their depositions, witnesses in the action to whom disclosure is

reasonably necessary and who have signed the "Acknowledgment and Agreement to Be Bound"

(Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must

be separately bound by the court reporter and may not be disclosed to anyone except as

permitted under this Protective Order;

               (g) the author or recipient of a document containing the information or a

custodian or other person who otherwise possessed or knew the information;

               (h) any mediator who is assigned to hear this matter, and his or her staff, subject

to their agreement to maintain the confidentiality to the same degree as required by this order;

and

               (i) any other person with the prior written consent of the Producing Party.

       7.3.    Procedure for Disclosure of"CONFIDENTIAL" Information or Items to Experts:

Before any "CONFIDENTIAL" information, or substance or summary thereof, shall be

disclosed to an Expert, the Expert shall sign and abide by the terms of the "Expert/Consultant


                                                  12
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 13 of 48




Acknowledge of Confidentiality and Agreement to be Bound by Protective Order," attached as

Exhibit A-1, confirming that he or she is not presently employed by, or providing any form of

consulting services to, any competitor of any Party, and that he or she will not accept

employment with, consult with, or provide services to, any competitor of any Party during the

pendency of these proceedings. An Expert may make an application to the Court with advance

notice and based upon a showing of good cause for modification of, or relief from, the

obligations of Expert/Consultant Acknowledgment of Confidentiality and Agreement to Be

Bound by Protective Order (Exhibit A-1) prior to the review of any "CONFIDENTIAL"

information.

8.     PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN OTHER

       LITIGATION

       If a Party is served with a subpoena or a court order issued in other litigation that compels

disclosure of any information or items designated in this action as "CONFIDENTIAL," that

Party must:

               (a) promptly notify in writing the Designating Party. Such notification shall

include a copy of the subpoena or court order;

               (b) promptly notify in writing the party who caused the subpoena or order to issue

in the other litigation that some or all of the material covered by the subpoena or order is subject

to this Protective Order. Such notification shall include a copy of this Protective Order; and

               (c) cooperate with respect to all reasonable procedures sought to be pursued by

the Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the

subpoena or court order shall not produce any information designated in this action as

"CONFIDENTIAL" before a determination by the court from which the subpoena or order

issued, unless the Party has obtained the Designating Party's permission. The Designating Party

shall bear the burden and expense of seeking protection in that court of its confidential material -




                                                 13
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 14 of 48




and nothing in these provisions should be construed as authorizing or encouraging a Receiving

Party in this action to disobey a lawful directive from another court.

9.       A NON-PARTY'S PROTECTED MATERIAL SOUGHT TO BE PRODUCED IN

         THIS LITIGATION

               (a) The terms of this Order are applicable to information produced by a Non-

Party in this action and designated as "CONFIDENTIAL." Such information produced by Non-

Parties in connection with this litigation is protected by the remedies and relief provided by this

Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking

additional protections.

               (b) In the event that a Party is required, by a valid discovery request, to produce a

Non-Party's confidential information in its possession, and the Party is subject to an agreement

with the Non-Party not to produce the Non-Party's confidential information, then the Party shall:

                   (1) promptly notify in writing the Requesting Party and the Non-Party that

some or all of the information requested is subject to a confidentiality agreement with a Non-

Party;

                   (2) promptly provide the Non-Party with a copy of the Protective Order in

this litigation, the relevant discovery request(s), and a reasonably specific description of the

information requested; and

                   (3) make the information requested available for inspection by the Non-Party.

               (c) If the Non-Party fails to object or seek a protective order from this court

within 14 days of receiving the notice and accompanying information, the Receiving Party may

produce the Non-Party's confidential information responsive to the discovery request. If the

Non-Party timely seeks a protective order, the Receiving Party shall not produce any

information in its possession or control that is subject to the confidentiality agreement with the

Non-Party before a determination by the court. Absent a court order to the contrary, the Non-

Party shall bear the burden and expense of seeking protection in this court of its Protected




                                                 14
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 15 of 48




Material.

10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Protective Order, the

Receiving Party must immediately (a) notify in writing the Designating Party of the unauthorized

disclosures, (b) use its best efforts to retrieve all unauthorized copies of the Protected Material,

(c) inform the person or persons to whom unauthorized disclosures were made of all the terms of

this Order, and (d) request such person or persons to execute the "Acknowledgment and

Agreement to Be Bound" that is attached hereto as Exhibit A.

11.    INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE PROTECTED

       MATERIAL

        11.1.   Pursuant to Federal Rule of Evidence 502(d) and (e), the inadvertent production

by a Party of Discovery Material subject to the attorney-client privilege, work product doctrine,

or any other applicable privilege or protection, despite the Producing Party's reasonable efforts

to pre-screen such Discovery Material prior to production, will not waive the applicable

privilege and/or protection in this case or in any other federal or state proceeding. For example,

the mere production of a privileged or work product protected document in this case as part of a

production is not itself a waiver. Nothing in this Order shall be interpreted to require disclosure

of irrelevant information or relevant information protected by the attorney-client privilege, work

product doctrine, or any other applicable privilege or immunity. The Parties do not waive any

objections as to the production, discoverability, admissibility, or confidentiality of documents

and electronically stored information. Moreover, nothing in this Order shall be interpreted to

require disclosure of information subject to privacy protections as set forth in law or regulation,

including information that may need to be produced from outside of the United States and/or

may be subject to foreign laws.

        11.2.   When a Producing Party gives notice to Receiving Parties that certain




                                                  15
          Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 16 of 48




inadvertently produced material is subject to a claim of privilege or other protection, the

obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure

26(b)(5)(B). The Receiving Parties must promptly return, sequester, or destroy the specified

information and any copies it has; must not use or disclose the information until the claim is

resolved; must take reasonable steps to retrieve the information if the Receiving Party disclosed

it before being notified; and may promptly present the information to the court under seal for a

determination of the claim. The Producing Party must preserve the information until the claim is

resolved.

12.       DATA SECURITY

          12.1.   If Receiving Party becomes aware of any unauthorized access, use, or disclosure

of Protected Materials or devices containing Protected Materials ("Data Breach"), Receiving

Party shall promptly, and in no case later than 48 hours after learning of the Data Breach, notify

Producing Party in writing and fully cooperate with Producing Party as may be reasonably

necessary to (1) determine the source, extent, or methodology of such Data Breach; (2) to

recover or to protect Protected Materials; and/or (3) to satisfy Producing Party's legal,

contractual, or other obligations. For the avoidance of doubt, notification obligations under this

Section arise when the Receiving Party both (1) learns of a Data Breach, and (2) learns that any

of the Producing Party's Protected Materials are potentially subject to the Data Breach. The

notification obligations set forth in this Section do not run from the time of the Data Breach

itself.

          12.2.   Receiving Party shall promptly comply with Producing Party's reasonable

request(s) that Receiving Party investigate, remediate, and mitigate the effects of a Data Breach

and any potential recurrence and take all reasonable steps to terminate and prevent unauthorized

access. Receiving Party shall promptly provide any information that is reasonably requested by

Producing Party and that relates to any such Data Breach, including but not limited to, the

Protected Material that was potentially impacted, underlying vulnerabilities or flaws that led to

the Data Breach, start or end date of the Data Breach, date of discovery, and specific actions


                                                  16
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 17 of 48




taken to contain, mitigate, or remediate the Data Breach. For the avoidance of doubt, nothing in

this Section is intended to create a waiver of any applicable privileges, including privileges

applicable to a Party's investigation and remediation of a Data Breach.

        12.3.    If Receiving Party is aware of a Data Breach, the Parties shall meet and confer in

good faith regarding any adjustments that should be made to the discovery process and

discovery schedule in this action, potentially including but not limited to (1) additional security

measures to protect Discovery Material; (2) a stay or extension of discovery pending

investigation of a Data Breach and/or implementation of additional security measures; and (3) a

sworn assurance that Discovery Materials will be handled in the future only by entities not

impacted by the Data Breach. Further, the Receiving Party shall submit to reasonable discovery

concerning the Data Breach.

        12.4.    In the event of a Data Breach affecting Protected Material of Designating Party,

at Designating Party's request, Receiving Party within ten (10) business days shall provide a

copy of its most recent ISMS policies and procedures that relate to the safeguarding of Protected

Materials and that preceded the Data Breach.

        12.5.    Receiving Party shall comply with this Section and any applicable security,

privacy, data protection, or breach notification laws, rules, regulations, or directives

("Applicable Data Law"). If Receiving Party is uncertain whether a particular practice would

conform with the requirements of this Section, it may meet and confer with the other Parties; if

any Party believes that the proposed practice would violate this Protective Order, it may, within

ten (10) business days, bring the dispute to the Court. The Party challenging the proposed

practice would bear the burden of demonstrating a violation.

13.    MISCELLANEOUS

        13 .1.   Right to Further Relief. Nothing in this Order abridges the right of any person to

seek its modification by the court in the future.

        13.2.    Right to Assert Other Objections. Through this Protective Order no Party waives

any right it otherwise would have to object to disclosing or producing any information or item


                                                    17
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 18 of 48




on any ground not addressed in this Protective Order. Similarly, no Party waives any right to

object on any ground to use in evidence of any of the material covered by this Protective Order.

        13.3.   Filing Protected Material. Without written permission from the Designating Party

or a court order secured after appropriate notice to all interested persons, a Party may not file in

the public record in this action any Protected Material. A Party that seeks to file under seal any

Protected Material must comply with Civil Local Rule 79-5. Protected Material may only be

filed under seal pursuant to a court order authorizing the sealing of the specific Protected

Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue only upon a

request establishing that the Protected Material at issue is privileged, protectable as a trade

secret, or otherwise entitled to protection under the law. If a Receiving Party's request to file

Protected Material under seal pursuant to Civil Local Rule 79-5 is denied by the court, then the

Receiving Party may file the information in the public record pursuant to Civil Local Rule 79-5

unless otherwise instructed by the court.

        13.4.   Modification by Court. This Order is subject to further court order based upon

public policy or other considerations, and the Court may modify this Order sua sponte in the

interests of justice. The United States District Court for the Northern District of California is

responsible for the interpretation and enforcement of this Order. All disputes concerning

protected Material, however designated, produced under the protection of this Order shall be

resolved by the United States District Court for the Northern District of California.

        13.5.   Discovery Rules Remain Unchanged. Except as expressly provided for herein,

nothing in this Order shall alter or change in any way the discovery provisions of the Federal

Rules of Civil Procedure, the Local Rules for the United States District Court for Northern

California or the Court's own orders. Identification of any individual pursuant to this Protective

Order does not make that individual available for deposition or any other form of discovery

outside of the restrictions and procedures of the Federal Rules of Civil Procedure, the Local

Rules for the United States District Court for Northern California, or the Court's own orders.

14.    FINAL DISPOSITION


                                                  18
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 19 of 48




       Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such

material at the option of the Producing Party. As used in this subdivision, "all Protected

Material" includes all copies, abstracts, compilations, summaries, and any other format

reproducing or capturing any of the Protected Material. Whether the Protected Material is

returned or destroyed, the Receiving Party must submit a written certification to the Producing

Party (and, if not the same person or entity, to the Designating Party) by the 60 day deadline that

affirms that all such Protected Material has been returned to the Producing Party or destroyed.

Notwithstanding this provision, Counsel are entitled to retain an archival copy of all pleadings,

motion papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,

deposition and trial exhibits, expert reports, attorney work product, and consultant and expert

work product, even if such materials contain Protected Material. Any such archival copies that

contain or constitute Protected Material remain subject to this Protective Order as set forth in

Section 4 (DURATION).



IT IS SO ORDERED.



DATED: - -May 1, 2023
          ---------
                                                United States District Judge
                                          Honorable Thomas S. Hixson, United States Magistrate Judge




                                                 19
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 20 of 48




                                            EXHIBIT A
                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, _ _ _ _ _ _ _ _ _ _ _ _ _ acknowledge and declare under penalty of perjury that I

have read in its entirety and understand the Protective Order that was issued by the United States

District Court for the Northern District of California in the case of Almeida v. Apple Inc., Civil

Action No. 3:21-cv-07109-VC. I agree to comply with and to be bound by all the terms of this

Protective Order and I understand and acknowledge that failure to so comply could expose me to

sanctions and punishment in the nature of contempt. I solemnly promise that I will not disclose

in any manner any information or item that is subject to this Protective Order to any person or

entity except in strict compliance with the provisions of this Order. I further consent to the

jurisdiction of the United States District Court for the Northern District of California for the

purpose of enforcing the terms of this Protective Order, even if such enforcement proceedings

occur after termination of this action.


I hereby appoint _ _ _ _ _ _ _ _ _ _ _ [print or type full name] of

_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ [print or type full address and telephone

number] as my California agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order.


Name of Individual: - - - - - - - - - - - - - -

Present occupation/job description: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Name of Company or Firm: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Address:
           --------------------------------

Date: - - - - - - - - -

                                                       [Signature]



                                                 20
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 21 of 48




                                           EXHIBIT A-1

    EXPERT/CONSULTANT ACKNOWLEDGMENT OF CONFIDENTIALITY AND

                 AGREEMENT TO BE BOUND BY PROTECTIVE ORDER


         I, - - - - - - - - - - ~ declare:

         1.    I reside at - - - - - - - - - - - - - - - - - - -

         2.    I have read the Protective Order Regarding The Disclosure and Use of Discovery

Material ("Order") in Almeida v. Apple Inc., Civil Action No. 3:21-cv-07109-VC, pending in the

Northern District of California.

         3.    I am familiar with the contents of the Order and agree to comply and be bound by

the provisions thereof.

         4.    I will not divulge to persons other than those specifically authorized by the Order,

and will not copy or use except solely for the purposes of this litigation and only as expressly

permitted by the terms of the Order, any Confidential information obtained pursuant to the

Order.

         5.    By signing below, I hereby agree to submit to the jurisdiction of the United States

District Court for the Northern District of California for resolving any and all disputes regarding

the Order and this Acknowledgment of Confidentiality. I further agree that any and all disputes

regarding the Order and this Acknowledgment of Confidentiality shall be governed by the laws

of the State of California, and that the district court for the Northern District of California shall

be the sole and exclusive venue for resolving any disputes arising from the Order and this

Acknowledgment of Confidentiality.

         6.    By signing below, I hereby confirm that I am not currently and do not currently

anticipate becoming an officer, director, or employee of, providing any form of consulting

services to, or becoming involved in any competitive decision-making on behalf of any

competitor of any Party with respect to the subject matter of this suit (including any product or

design specifications). I further agree that: (1) during the pendency of these proceedings I shall



                                                  21
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 22 of 48




not accept any position as an employee, officer, or director of any competitor of any Party; (2)

for the two years following the close of expert discovery or during the pendency of these

proceedings, whichever is shorter, I shall not consult with, or provide services to any competitor

of any Party; and (3) I shall not at any time, either during the pendency of these proceedings or

after conclusion of these proceedings, use or divulge any of the Confidential information made

available to me pursuant to the Order.



       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

       Executed on - - - - - - - - - at - - - - - - - - -




                                                     Name:

                                                     Address:




                                                22
Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 23 of 48




         EXHIBIT A
                                               Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 24 of 48




                                   1

                                   2                                UNITED STATES DISTRICT COURT
                                   3                              NORTHERN DISTRICT OF CALIFORNIA
                                   4                                     SAN FRANCISCO DIVISION

                                   5   NESTOR ALMEIDA, individually and on                Lead Case No. 3:21-cv-07109-VC
                                       behalf of all others similarly situated,
                                   6                                                      Consolidated with No. 3:21-cv-07112-VC
                                   7          Plaintiff,
                                       v.                                                 [PROPOSED] AGREED PROTECTIVE
                                   8                                                      ORDER REGARDING THE
                                       APPLE INC.,                                        DISCLOSURE AND USE OF
                                   9                                                      DISCOVERY MATERIALS
                                              Defendant.
                                  10                                                      Dept.: Courtroom 4 – 17th Floor
                                  11   DAPHNE PAREAS and DANIEL FRIEND,                   Judge: Honorable Vince Chhabria
                                       on behalf of themselves and all others
                                  12   similarly situated,
Northern District of California
 United States District Court




                                  13          Plaintiffs,
                                       v.
                                  14
                                  15   APPLE INC.,

                                  16          Defendant.
                                  17
                                  18                                                        Case No.
                                                                     Plaintiff,
                                  19                                                        MODEL STIPULATED
                                                v.                                          PROTECTIVE ORDER
                                  20                                                        (for standard litigation)
                                  21
                                                                     Defendant.
                                  22
                                  23

                                  24   1.     1.      PURPOSES AND LIMITATIONS
                                  25          Plaintiffs and Defendant Apple Inc. (“Defendant,” and collectively with Plaintiffs, the
                                  26   “Parties”) anticipate that Ddisclosure and discovery activity in this action are likely to involve
                                  27
                                  28
                                       -
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 25 of 48




production of confidential, proprietary, trade secret, commercially sensitive, and/or private

information for which special protection from public disclosure and from use for any purpose
other than prosecuting this litigation may be warranted. Accordingly, the parties hereby stipulate
to and petition the court to enter the following Stipulated Protective Order. Regarding the

Disclosure and Use of Discovery Materials (“Order” or “Protective Order”) setting forth the
conditions for treating, obtaining, and using such information. Pursuant to Paragraph 24 of the

Court’s Civil Standing Order, this proposed Order is based on the standard model order for the

Northern District; attached hereto as Exhibit A is a redline indicating where this Order deviates
from the Northern District’s model order.

       The parties acknowledge that this Order does not confer blanket protections on all
disclosures or responses to discovery and that the protection it affords from public disclosure
and use extends only to the limited information or items that are entitled to confidential

treatment under the applicable legal principles. The parties further acknowledge, as set forth in
Section 123.3, below, that this Stipulated Protective Order does not entitle them to file

confidential information under seal; Civil Local Rule 79-5 sets forth the procedures that must be

followed and the standards that will be applied when a party seeks permission from the court to
file material under seal. Protected Material designated under the terms of this Protective Order

shall be used solely by a Receiving Party for this case, and shall not be used directly or

indirectly for any other purpose whatsoever.

2.     2.      DEFINITIONS

       2.1.    2.1     Challenging Party: a Party or Non-Party that challenges the designation of
information or items under this Order.
       2.2.    2.2     “CONFIDENTIAL” Information or Items: information (regardless of how

it is generated, stored or maintained) or tangible things that qualify for protection under Federal

Rule of Civil Procedure 26(c).
       2.3.    2.3     Counsel (without qualifier): Outside Counsel of Record and House

Counsel (as well as their support staff).


                                                 2-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 26 of 48




        2.4.    2.4     Designating Party: a Party or Non-Party that designates information or

items that it produces in disclosures or in responses to discovery as “CONFIDENTIAL.”
        2.5.    2.5     Disclosure or Discovery Material: all items or information, including
from any Non-Party, regardless of the medium or manner in which it is generated, stored, or

maintained (including, among other things, testimony, transcripts, and tangible things), that are
produced or generated in disclosures or responses to discovery in this matter.
        2.6.    2.6     Expert: a person with specialized knowledge or experience in a matter

pertinent to the litigation who has been retained by a Party or its counsel to serve as an expert
witness or as a consultant in this action. and who is: (a) not a past or current officer, director, or

employee of a competitor of a Party, nor anticipated at the time of retention to become an
officer, director, or employee of a competitor of a Party; and (b) not involved in competitive
decision-making, as defined by U.S. Steel v. United States, 730 F.2d 1465, 1468 n.3 (Fed. Cir.

1984), on behalf of a competitor of a Party.

        2.7.    2.7     House Counsel: attorneys who are employees of a party to this action.
House Counsel does not include Outside Counsel of Record or any other outside counsel.

        2.8.    2.8     Non-Party: any natural person, partnership, corporation, association, or

other legal entity not named as a Party to this action.
        2.9.    2.9     Outside Counsel of Record: attorneys who are not employees of a party to

this action but are retained to represent or advise a party to this action and have appeared in this

action on behalf of that party or are affiliated with a law firm which has appeared on behalf of

that party.(i) outside counsel who appear on the pleadings as counsel for a Party and (ii)
partners, associates, and staff of such counsel to whom it is reasonably necessary to disclose the
information for this litigation.

        2.10. 2.10      Party: any party to this action, including all of its officers, directors,

employees, consultants, retained eExperts, and Outside Counsel of Record (and their support
staffs). “Party,” however, does not include any members of the putative class(es) other than the

named plaintiffs in this action (Daniel Friend, Daphne Pareas, Scott Seveland, Patrice Sherman,


                                                   3-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 27 of 48




Nestor Almeida, Magdala Casimir, Adelina Lavecchia, Dan Henderson, Maritza Angeles, Tim

Inselmann, William West-Davis, Patricia Medberry, and Azara Colindrez). Should additional
pleadings naming additional individuals as named plaintiffs be filed, such individually named
plaintiffs will also be included within the definition of “Party” for purposes of this Order.

       2.11. 2.11      Producing Party: a Party or Non-Party that produces Disclosure or
Discovery Material in this action.
       2.12. 2.12      Professional Vendors: persons or entities that provide litigation support

services (e.g., photocopying, videotaping, translating, preparing exhibits or demonstrations, and
organizing, storing, or retrieving data in any form or medium) and their employees and
subcontractors.

       2.13. 2.13      Protected Material: any Disclosure or Discovery Material that is

designated as “CONFIDENTIAL.” as provided for in this Order. Protected Material shall not

include: (i) advertising materials that have been published or publicly disseminated; and (ii)

materials that show on their face they have been disseminated to the public.
       2.14. 2.14      Receiving Party: a Party that receives Disclosure or Discovery Material

from a Producing Party.
3.     3.      SCOPE
       The protections conferred by this Stipulation and Order cover not only Protected

Material (as defined above), but also (1) any information copied or extracted from Protected

Material; (2) all copies, excerpts, summaries, or compilations of Protected Material; and (3) any

testimony, conversations, or presentations by Parties or their Counsel in court or in other

settings that might reveal Protected Material.
       However, the protections conferred by this Stipulation and Order do not cover the

following information: (a) any information that is in the public domain at the time of disclosure

to a Receiving Party or becomes part of the public domain after its disclosure to a Receiving
Party as a result of publication not involving a violation of this Order, including becoming part

of the public record through trial or otherwise; and (b) any information known to the Receiving


                                                 4-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 28 of 48




Party prior to the disclosure or obtained by the Receiving Party after the disclosure from a

source who obtained the information lawfully and under no obligation of confidentiality to the
Designating Party. Any use of Protected Material at trial shall be governed by a separate
agreement or order.

       In addition, nothing in this Order shall (i) prevent or restrict a Producing Party’s own

disclosure or use of its own Protected Material for any purpose, and nothing in this Order shall

preclude any Party from showing Protected Material to an individual who prepared the Protected

Material; (ii) be construed to prejudice any Party’s right to use any Protected Material in court or
in any court filing with the consent of the Producing Party or by order of the Court; (iii) be

construed to alter the legal burden of proof or persuasion under applicable law in a motion
brought by any Party related to discovery, confidentiality of Protected Material, or the

interpretation of this Order, consistent with the section of this Order entitled “Challenging

Confidentiality Designations.”

       This Order is entered without prejudice to the right of any Party to seek further or
additional protection of any Discovery Material or to modify this Order in any way, including,

without limitation, an order that certain matter not be produced at all. Any use of Protected

Material at trial shall be governed by a separate agreement or order.
4.     4.      DURATION

       Even after final disposition of this litigation, the confidentiality obligations imposed by

this Order shall remain in effect until a Designating Party agrees otherwise in writing or a court

order otherwise directs. Final disposition shall be deemed to be the later of (1) dismissal of all

claims and defenses in this action, with or without prejudice; and (2) final judgment herein after
the completion and exhaustion of all appeals, rehearings, remands, trials, or reviews of this

action, including the time limits for filing any motions or applications for extension of time
pursuant to applicable law. For a period of six (6) months after final disposition of this litigation,

the Court shall retain jurisdiction to enforce the terms of this Order.

5.     5.      DESIGNATING PROTECTED MATERIAL


                                                  5-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 29 of 48




       5.1.    5.1     Exercise of Restraint and Care in Designating Material for Protection.

Each Party or Non-Party that designates information or items for protection under this Order
must take care to limit any such designation to specific material that qualifies under the
appropriate standards. The Designating Party must designate for protection only those parts of

material, documents, items, or oral or written communications that qualify – so that other
portions of the material, documents, items, or communications for which protection is not
warranted are not swept unjustifiably within the ambit of this Order.

       Mass, indiscriminate, or routinized designations are prohibited. Designations that are
shown to be clearly unjustified or that have been made for an improper purpose (e.g., to

unnecessarily encumber or retard the case development process or to impose unnecessary
expenses and burdens on other parties) expose the Designating Party to sanctions.
       If it comes to a Designating Party’s attention that information or items that it designated

for protection do not qualify for protection, that Designating Party must promptly notify all other
Parties that it is withdrawing the mistaken designation.

       5.2.    5.2     Manner and Timing of Designations. Except as otherwise provided in this

Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise stipulated or
ordered, Disclosure or Discovery Material that qualifies for protection under this Order must be
clearly so designated before the material is disclosed or produced.

       Designation in conformity with this Order requires:
               (a) For information in documentary form (e.g., paper or electronic documents, but

excluding transcripts of depositions or other pretrial or trial proceedings), that the Producing
Party affix the legend “CONFIDENTIAL” to each page that contains protected material. If only

a portion or portions of the material on a page qualifies for protection, the Producing Party also

must clearly identify the protected portion(s) (e.g., by making appropriate markings in the

margins).
       A Party or Non-Party that makes original documents or materials available for inspection

need not designate them for protection until after the inspecting Party has indicated which


                                                 6-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 30 of 48




material it would like copied and produced. During the inspection and before the designation, all

of the material made available for inspection shall be deemed “CONFIDENTIAL.” After the
inspecting Party has identified the documents it wants copied and produced, the Producing Party
must determine which documents, or portions thereof, qualify for protection under this Order.

Then, before producing the specified documents, the Producing Party must affix the
“CONFIDENTIAL” legend to each page that contains Protected Material. If only a portion or
portions of the material on a page qualifies for protection, the Producing Party also must clearly

identify the protected portion(s) (e.g., by making appropriate markings in the margins).
           (b) for testimony given in deposition or in other pretrial or trial proceedings, that the

Designating Party identify on the record, before the close of the deposition, hearing, or other
proceeding, all protected testimony.

               (b) for native files: Where electronic files and documents are produced in native

electronic format, such electronic files and documents shall be designated for protection under

this Order by appending to the file names or designators or metadata information indicating
whether the file contains “CONFIDENTIAL” material, or shall use any other reasonable method

for so designating Protected Materials produced in electronic format. When electronic files or

documents are printed for use at deposition or in a court proceeding, the party printing the
electronic files or documents shall affix a legend to the printed document corresponding to the

designation of the Designating Party and including the production number and designation

associated with the native file. If, during any deposition, a party asks questions regarding a .tiff,

.pdf, or other image format version of a document produced in native file format, the other party
may object on the record to the authenticity of the image. After the deposition, if the other party
discovers that the image does not accurately reflect the information contained in the native file,

that party shall notify the questioning party of the discrepancy between the image and native

files, and the Parties shall meet and confer in good faith to confirm the existence of the
discrepancy. If any discrepancy exists between the image and native file, the line of questioning

concerning the image shall be inadmissible for all purposes, including impeachment. If the


                                                 7-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 31 of 48




image accurately reflects the information contained in the native file, no further action shall be

taken. No Party shall seek to use at trial in this litigation a .tiff, .pdf, or other image format
version of a document produced in native file format without first providing a copy of the image
format version to the Producing Party so that the Producing Party can review the image to

ensure that no information has been altered. However, a party seeking to use a native file as an
attachment or exhibit to a motion or other court filing need not first provide a copy of the image

format version to the Producing Party for inspection.

                (c) for depositions and testimony, that the Designating Party identify on the
record at the time the testimony is given or by sending written notice of how portions of the

transcript of the testimony is designated within thirty (30) days of receipt of the transcript of the
testimony. If no indication on the record is made, all information disclosed during a deposition

shall be deemed “CONFIDENTIAL” until the time within which it may be appropriately

designated as provided for herein has passed. Any Party that wishes to disclose the transcript, or

information contained therein, may provide written notice of its intent to treat the transcript as
non-confidential, after which time, any Party that wants to maintain any portion of the transcript

as confidential must designate the confidential portions within fourteen (14) days, or else the

transcript may be treated as non- confidential. Any Protected Material that is used in the taking
of a deposition shall remain subject to the provisions of this Protective Order, along with the

transcript pages of the deposition testimony dealing with such Protected Material. In such cases

the court reporter shall be informed of this Protective Order and shall be required to operate in a

manner consistent with this Protective Order. In the event the deposition is videotaped, the
original and all copies of the videotape shall be marked by the video technician to indicate that
the contents of the videotape are subject to this Protective Order, substantially along the lines of

“This videotape contains confidential testimony used in this case and is not to be viewed or the

contents thereof to be displayed or revealed except pursuant to the terms of the operative
Protective Order in this matter or pursuant to written stipulation of the parties.” Counsel for any

Producing Party shall have the right to exclude from oral depositions, other than the deponent,


                                                   8-
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 32 of 48




deponent’s counsel, the reporter and videographer (if any), any person who is not authorized by

this Protective Order to receive or access Protected Material based on the designation of such
Protected Material. Such right of exclusion shall be applicable only during periods of
examination or testimony regarding such Protected Material.

                (cd) for information produced in some form other than documentary and for any
other tangible items, that the Producing Party affix in a prominent place on the exterior of the
container or containers in which the information or item is stored the legend

“CONFIDENTIAL.” If only a portion or portions of the information or item warrant protection,

the Producing Party, to the extent practicable, shall identify the protected portion(s).

         5.3.   5.3    Inadvertent Failures to Designate. If timely corrected within thirty (30)
days of discovery, an inadvertent failure to designate qualified information or items does not,

standing alone, waive the Designating Party’s right to secure protection under this Order for

such material. Upon timely correction of a designation, the Receiving Party must make

reasonable efforts to assure that the material is treated in accordance with the provisions of this
Order.

6.       6.     CHALLENGING CONFIDENTIALITY DESIGNATIONS

         6.1.   6.1    Timing of Challenges. Any Party or Non-Party may challenge a
designation of confidentiality at any time. Unless a prompt challenge to a Designating Party’s

confidentiality designation is necessary to avoid foreseeable, substantial unfairness, unnecessary
economic burdens, or a significant disruption or delay of the litigation, a Party does not waive its

right to challenge a confidentiality designation by electing not to mount a challenge promptly
after the original designation is disclosed.
         6.2.   6.2    Meet and Confer. The Challenging Party shall initiate the dispute

resolution process by providing written notice of each designation it is challenging and

describing the basis for each challenge. To avoid ambiguity as to whether a challenge has been
made, the written notice must recite that the challenge to confidentiality is being made in

accordance with this specific paragraph of the Protective Order. The parties shall attempt to


                                                 9-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 33 of 48




resolve each challenge in good faith and must begin the process by conferring directly (in voice

to voice dialogue; other forms of communication are not sufficient) within 14 days of the date of
service of notice. In conferring, the Challenging Party must explain with particularity the basis

for its belief that the confidentiality designation was not proper and must give the Designating

Party an opportunity to review the designated material, to reconsider the circumstances, and, if
no change in designation is offered, to explain the basis for the chosen designation. A
Challenging Party may proceed to the next stage of the challenge process only if it has engaged

in this meet and confer process first or establishes that the Designating Party is unwilling to
participate in the meet and confer process in a timely manner.

       6.3.    6.3     Judicial Intervention. If the Parties cannot resolve a challenge without
court intervention, the Designating Party shall file and serve a motion to retain confidentiality
under Civil Local Rule 7 (and in compliance with Civil Local Rule 79-5, if applicable) within 21

days of the initial notice of challenge or within 14 days of the parties agreeing that the meet and
confer process will not resolve their dispute, whichever is earlier. Each such motion must be
accompanied by a competent declaration affirming that the movant has complied with the meet

and confer requirements imposed in the preceding paragraph. Failure by the Designating Party
to make such a motion including the required declaration within 21 days (or 14 days, if
applicable) shall automatically waive the confidentiality designation for each challenged

designation. In addition, the Challenging Party may file a motion challenging a confidentiality
designation at any time if there is good cause for doing so, including a challenge to the

designation of a deposition transcript or any portions thereof. Any motion brought pursuant to
this provision must be accompanied by a competent declaration affirming that the movant has

complied with the meet and confer requirements imposed by the preceding paragraph.

       The burden of persuasion in any such challenge proceeding shall be on the Designating

Party. Frivolous challenges, and those made for an improper purpose (e.g., to harass or impose
unnecessary expenses and burdens on other parties) may expose the Challenging Party to

sanctions. Unless the Designating Party has waived the confidentiality designation by failing to


                                                10-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 34 of 48




file a motion to retain confidentiality as described above, all parties shall continue to afford the

material in question the level of protection to which it is entitled under the Producing Party’s
designation until the court rules on the challenge or the challenge is withdrawn in writing.

7.     7.      ACCESS TO AND USE OF PROTECTED MATERIAL
       7.1.    7.1     (a) Basic Principles. A Receiving Party may use Protected Material that is

disclosed or produced by another Party or by a Non-Party in connection with this case only for
prosecuting, defending, or attempting to settle this litigation, and may not use such Protected

Material for any other purpose, including without limitation any other litigation, patent

prosecution or acquisition, patent reexamination or reissue proceedings, or any business or
competitive purpose or function. Such Protected Material may be disclosed only to the

categories of persons and under the conditions described in this Order. When the litigation has

been terminated, a Receiving Party must comply with the provisions of section 13 below
(FINAL DISPOSITION).

               (b) Secure Storage: Protected Material must be stored and maintained by a

Receiving Party at a location and in a secure manner that reasonably ensures that access is
limited to the persons authorized under this Order.

               (c) Legal Advice Based on Protected Material: Nothing in this Order shall be

construed to prevent counsel from advising their clients with respect to this case based in whole
or in part upon Protected Material, provided counsel does not disclose the Protected Material

itself except as provided in this Order.
               (d) Limitations: Nothing in this Order shall restrict in any way a Producing

Party’s use or disclosure of its own Protected Material. Nothing in this Order shall restrict in any
way the use or disclosure of Discovery Material by a Receiving Party: (i) that is or has become
publicly known through no fault of the Receiving Party; (ii) that is lawfully acquired by or

known to the Receiving Party independent of the Producing Party; (iii) previously produced,
disclosed and/or provided by the Producing Party to the Receiving Party or a non-party without




                                                 11-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 35 of 48




an obligation of confidentiality and not by inadvertence or mistake; (iv) with the consent of the

Producing Party; or (v) pursuant to order of the Court.
       7.2.    Disclosure of “CONFIDENTIAL” Information or Items. A Producing Party may
designate Discovery Material as “CONFIDENTIAL” if it contains or reflects confidential,

proprietary, and/or commercially sensitive information, including but not limited to trade
secrets, pricing information, financial data, sales information, sales or marketing forecasts,

business plans, sales or marketing strategy, product development information, engineering

documents, testing documents, employee information, and other non-public information of
similar competitive and business sensitivity.

       7.2     Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
ordered by the court or permitted in writing by the Designating Party, a Receiving Party may
disclose any information or item designated “CONFIDENTIAL” only to:

               (a) the Receiving Party’s Outside Counsel of Record in this action, as well as
employees of said Outside Counsel of Record to whom it is reasonably necessary to disclose the
information for this litigation and who have signed the “Acknowledgment and Agreement to Be

Bound” that is attached hereto as Exhibit A;
               (b) the officers, directors, and employees (including House Counsel) of the
Receiving Party to whom disclosure is reasonably necessary for this litigation and who have

signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
               (c) Experts (as defined in this Order) of the Receiving Party to whom disclosure

is reasonably necessary for this litigation and who have signed the “Acknowledgment and

Agreement to Be Bound” (Exhibit A);, provided the disclosure is only to the extent necessary to
perform such work; and provided that: (i) such expert has agreed to be bound by the provisions
of the Protective Order by signing a copy of Exhibit A-1, as set forth in Section 7.3 infra; and

(ii) such expert accesses the materials in the United States only, and does not transport them to
or access them from any foreign (i.e., outside the United States) jurisdiction (unless such

material originated from or are produced from any such foreign jurisdiction; moreover, the


                                                12-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 36 of 48




Parties agree to meet and confer over potential alterations to this Protective Order as reasonably

necessary to enable the parties to take testimony on technical matters in a foreign jurisdiction);
               (d) the court and its personnel;
               (e) court reporters and their staff, professional jury or trial consultants, mock

jurors, and Professional Vendors to whom disclosure is reasonably necessary for this litigation
and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
               (f) during their depositions, witnesses in the action to whom disclosure is

reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
(Exhibit A), unless otherwise agreed by the Designating Party or ordered by the court. Pages of

transcribed deposition testimony or exhibits to depositions that reveal Protected Material must
be separately bound by the court reporter and may not be disclosed to anyone except as
permitted under this Stipulated Protective Order.;

               (g) the author or recipient of a document containing the information or a
custodian or other person who otherwise possessed or knew the information.;

               (h) any mediator who is assigned to hear this matter, and his or her staff, subject

to their agreement to maintain the confidentiality to the same degree as required by this order;

and
               (i) any other person with the prior written consent of the Producing Party.

       7.3.    Procedure for Disclosure of “CONFIDENTIAL” Information or Items to Experts:

Before any “CONFIDENTIAL” information, or substance or summary thereof, shall be

disclosed to an Expert, the Expert shall sign and abide by the terms of the “Expert/Consultant
Acknowledge of Confidentiality and Agreement to be Bound by Protective Order,” attached as
Exhibit A-1, confirming that he or she is not presently employed by, or providing any form of

consulting services to, any competitor of any Party, and that he or she will not accept

employment with, consult with, or provide services to, any competitor of any Party during the
pendency of these proceedings. An Expert may make an application to the Court with advance

notice and based upon a showing of good cause for modification of, or relief from, the


                                                  13-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 37 of 48




obligations of Expert/Consultant Acknowledgment of Confidentiality and Agreement to Be

Bound by Protective Order (Exhibit A-1) prior to the review of any “CONFIDENTIAL”
information.
8.     8.      PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN

       OTHER LITIGATION
       If a Party is served with a subpoena or a court order issued in other litigation that
compels disclosure of any information or items designated in this action as “CONFIDENTIAL,”

that Party must:

               (a) promptly notify in writing the Designating Party. Such notification shall
include a copy of the subpoena or court order;
               (b) promptly notify in writing the party who caused the subpoena or order to

issue in the other litigation that some or all of the material covered by the subpoena or order is
subject to this Protective Order. Such notification shall include a copy of this Stipulated

Protective Order; and
               (c) cooperate with respect to all reasonable procedures sought to be pursued by
the Designating Party whose Protected Material may be affected.

       If the Designating Party timely seeks a protective order, the Party served with the
subpoena or court order shall not produce any information designated in this action as

“CONFIDENTIAL” before a determination by the court from which the subpoena or order

issued, unless the Party has obtained the Designating Party’s permission. The Designating Party
shall bear the burden and expense of seeking protection in that court of its confidential material –

and nothing in these provisions should be construed as authorizing or encouraging a Receiving
Party in this action to disobey a lawful directive from another court.

9.     9.      A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE PRODUCED
       IN THIS LITIGATION

               (a) The terms of this Order are applicable to information produced by a Non-



                                                 14-
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 38 of 48




Party in this action and designated as “CONFIDENTIAL.” Such information produced by Non-

Parties in connection with this litigation is protected by the remedies and relief provided by this
Order. Nothing in these provisions should be construed as prohibiting a Non-Party from seeking
additional protections.

                (b) In the event that a Party is required, by a valid discovery request, to produce a
Non-Party’s confidential information in its possession, and the Party is subject to an agreement
with the Non-Party not to produce the Non-Party’s confidential information, then the Party shall:

                    (1) promptly notify in writing the Requesting Party and the Non-Party that
some or all of the information requested is subject to a confidentiality agreement with a Non-

Party;
                    (2) promptly provide the Non-Party with a copy of the Stipulated Protective

Order in this litigation, the relevant discovery request(s), and a reasonably specific description

of the information requested; and
                    (3) make the information requested available for inspection by the Non-Party.
                (c) If the Non-Party fails to object or seek a protective order from this court

within 14 days of receiving the notice and accompanying information, the Receiving Party may
produce the Non-Party’s confidential information responsive to the discovery request. If the
Non-Party timely seeks a protective order, the Receiving Party shall not produce any

information in its possession or control that is subject to the confidentiality agreement with the
Non-Party before a determination by the court. Absent a court order to the contrary, the Non-

Party shall bear the burden and expense of seeking protection in this court of its Protected

Material.
10.      10.    UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL

         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed Protected

Material to any person or in any circumstance not authorized under this Stipulated Protective
Order, the Receiving Party must immediately (a) notify in writing the Designating Party of the

unauthorized disclosures, (b) use its best efforts to retrieve all unauthorized copies of the


                                                 15-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 39 of 48




Protected Material, (c) inform the person or persons to whom unauthorized disclosures were

made of all the terms of this Order, and (d) request such person or persons to execute the
“Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit A.

11.    11.     INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
       PROTECTED MATERIAL

       11.1. Pursuant to Federal Rule of Evidence 502(d) and (e), the inadvertent production

by a Party of Discovery Material subject to the attorney-client privilege, work product doctrine,
or any other applicable privilege or protection, despite the Producing Party’s reasonable efforts

to pre-screen such Discovery Material prior to production, will not waive the applicable
privilege and/or protection in this case or in any other federal or state proceeding. For example,

the mere production of a privileged or work product protected document in this case as part of a

production is not itself a waiver. Nothing in this Order shall be interpreted to require disclosure
of irrelevant information or relevant information protected by the attorney-client privilege, work

product doctrine, or any other applicable privilege or immunity. The Parties do not waive any
objections as to the production, discoverability, admissibility, or confidentiality of documents
and electronically stored information. Moreover, nothing in this Order shall be interpreted to

require disclosure of information subject to privacy protections as set forth in law or regulation,
including information that may need to be produced from outside of the United States and/or
may be subject to foreign laws.

       11.2. When a Producing Party gives notice to Receiving Parties that certain
inadvertently produced material is subject to a claim of privilege or other protection, the

obligations of the Receiving Parties are those set forth in Federal Rule of Civil Procedure
26(b)(5)(B). This provision is not intended to modify whatever procedure may be established in

an e-discovery order that provides for production without prior privilege review. Pursuant to

Federal Rule of Evidence 502(d) and (e), insofar as the parties reach an agreement on the effect
of disclosure of a communication or information covered by the attorney-client privilege or




                                                16-
          Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 40 of 48




work product protection, the parties may incorporate their agreement in the stipulated protective

order submitted to the court.The Receiving Parties must promptly return, sequester, or destroy
the specified information and any copies it has; must not use or disclose the information until the
claim is resolved; must take reasonable steps to retrieve the information if the Receiving Party

disclosed it before being notified; and may promptly present the information to the court under
seal for a determination of the claim. The Producing Party must preserve the information until

the claim is resolved.

12.       DATA SECURITY
          12.1. If Receiving Party becomes aware of any unauthorized access, use, or disclosure

of Protected Materials or devices containing Protected Materials (“Data Breach”), Receiving
Party shall promptly, and in no case later than 48 hours after learning of the Data Breach, notify

Producing Party in writing and fully cooperate with Producing Party as may be reasonably

necessary to (1) determine the source, extent, or methodology of such Data Breach; (2) to

recover or to protect Protected Materials; and/or (3) to satisfy Producing Party’s legal,
contractual, or other obligations. For the avoidance of doubt, notification obligations under this

Section arise when the Receiving Party both (1) learns of a Data Breach, and (2) learns that any

of the Producing Party’s Protected Materials are potentially subject to the Data Breach. The
notification obligations set forth in this Section do not run from the time of the Data Breach

itself.

          12.2. Receiving Party shall promptly comply with Producing Party’s reasonable

request(s) that Receiving Party investigate, remediate, and mitigate the effects of a Data Breach
and any potential recurrence and take all reasonable steps to terminate and prevent unauthorized
access. Receiving Party shall promptly provide any information that is reasonably requested by

Producing Party and that relates to any such Data Breach, including but not limited to, the

Protected Material that was potentially impacted, underlying vulnerabilities or flaws that led to
the Data Breach, start or end date of the Data Breach, date of discovery, and specific actions

taken to contain, mitigate, or remediate the Data Breach. For the avoidance of doubt, nothing in


                                                17-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 41 of 48




this Section is intended to create a waiver of any applicable privileges, including privileges

applicable to a Party’s investigation and remediation of a Data Breach.
       12.3. If Receiving Party is aware of a Data Breach, the Parties shall meet and confer in
good faith regarding any adjustments that should be made to the discovery process and

discovery schedule in this action, potentially including but not limited to (1) additional security
measures to protect Discovery Material; (2) a stay or extension of discovery pending

investigation of a Data Breach and/or implementation of additional security measures; and (3) a

sworn assurance that Discovery Materials will be handled in the future only by entities not
impacted by the Data Breach. Further, the Receiving Party shall submit to reasonable discovery

concerning the Data Breach.
       12.4. In the event of a Data Breach affecting Protected Material of Designating Party,

at Designating Party’s request, Receiving Party within ten (10) business days shall provide a

copy of its most recent ISMS policies and procedures that relate to the safeguarding of Protected

Materials and that preceded the Data Breach.
       12.5. Receiving Party shall comply with this Section and any applicable security,

privacy, data protection, or breach notification laws, rules, regulations, or directives

(“Applicable Data Law”). If Receiving Party is uncertain whether a particular practice would
conform with the requirements of this Section, it may meet and confer with the other Parties; if

any Party believes that the proposed practice would violate this Protective Order, it may, within

ten (10) business days, bring the dispute to the Court. The Party challenging the proposed

practice would bear the burden of demonstrating a violation.
13.    12.     MISCELLANEOUS
       13.1. 12.1      Right to Further Relief. Nothing in this Order abridges the right of any

person to seek its modification by the court in the future.

       13.2. 12.2      Right to Assert Other Objections. By stipulating to the entry ofThrough
this Protective Order no Party waives any right it otherwise would have to object to disclosing or

producing any information or item on any ground not addressed in this Stipulated Protective


                                                 18-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 42 of 48




Order. Similarly, no Party waives any right to object on any ground to use in evidence of any of

the material covered by this Protective Order.
       13.3. 12.3      Filing Protected Material. Without written permission from the
Designating Party or a court order secured after appropriate notice to all interested persons, a

Party may not file in the public record in this action any Protected Material. A Party that seeks
to file under seal any Protected Material must comply with Civil Local Rule 79-5. Protected
Material may only be filed under seal pursuant to a court order authorizing the sealing of the

specific Protected Material at issue. Pursuant to Civil Local Rule 79-5, a sealing order will issue
only upon a request establishing that the Protected Material at issue is privileged, protectable as

a trade secret, or otherwise entitled to protection under the law. If a Receiving Party's request to
file Protected Material under seal pursuant to Civil Local Rule 79-5 is denied by the court, then
the Receiving Party may file the information in the public record pursuant to Civil Local Rule

79-5 unless otherwise instructed by the court.
       13.4. Modification by Court. This Order is subject to further court order based upon
public policy or other considerations, and the Court may modify this Order sua sponte in the

interests of justice. The United States District Court for the Northern District of California is

responsible for the interpretation and enforcement of this Order. All disputes concerning
protected Material, however designated, produced under the protection of this Order shall be

resolved by the United States District Court for the Northern District of California.

       13.5. Discovery Rules Remain Unchanged. Except as expressly provided for herein,

nothing in this Order shall alter or change in any way the discovery provisions of the Federal
Rules of Civil Procedure, the Local Rules for the United States District Court for Northern
California or the Court’s own orders. Identification of any individual pursuant to this Protective

Order does not make that individual available for deposition or any other form of discovery

outside of the restrictions and procedures of the Federal Rules of Civil Procedure, the Local
Rules for the United States District Court for Northern California, or the Court’s own orders.

14.    13.     FINAL DISPOSITION


                                                 19-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 43 of 48




       Within 60 days after the final disposition of this action, as defined in paragraph 4, each

Receiving Party must return all Protected Material to the Producing Party or destroy such
material at the option of the Producing Party. As used in this subdivision, “all Protected

Material” includes all copies, abstracts, compilations, summaries, and any other format

reproducing or capturing any of the Protected Material. Whether the Protected Material is
returned or destroyed, the Receiving Party must submit a written certification to the Producing
Party (and, if not the same person or entity, to the Designating Party) by the 60 day deadline that

(1) identifies (by category, where appropriate) all theaffirms that all such Protected Material that

whas been returned to the Producing Party or destroyed and (2) affirms that the Receiving Party

has not retained any copies, abstracts, compilations, summaries or any other format reproducing
or capturing any of the Protected Material. Notwithstanding this provision, Counsel are entitled

to retain an archival copy of all pleadings, motion papers, trial, deposition, and hearing

transcripts, legal memoranda, correspondence, deposition and trial exhibits, expert reports,
attorney work product, and consultant and expert work product, even if such materials contain
Protected Material. Any such archival copies that contain or constitute Protected Material remain

subject to this Protective Order as set forth in Section 4 (DURATION).

IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.



DATED: ________________________ _____________________________________
                                       Attorney for Plaintiff
DATED: ________________________ _____________________________________
                                       Attorney for Defendant
PURSUANT TO STIPULATION, IT IS SO ORDERED.


DATED: ________________________ _____________________________________
                                       United States District/Magistrate Judge




                                                20-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 44 of 48




                                           EXHIBIT A
                ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

I, _____________________________ [print or type full name], of _________________ [print or

type full address],acknowledge and declare under penalty of perjury that I have read in its entirety
and understand the Stipulated Protective Order that was issued by the United States District Court

for the Northern District of California on [date] in the case of ___________ [insert formal name
of the case and the number and initials assigned to it by the court]Almeida v. Apple Inc., Civil

Action NO. 3:21-CV-07109-VC. I agree to comply with and to be bound by all the terms of this

Stipulated Protective Order and I understand and acknowledge that failure to so comply could
expose me to sanctions and punishment in the nature of contempt. I solemnly promise that I will

not disclose in any manner any information or item that is subject to this Stipulated Protective

Order to any person or entity except in strict compliance with the provisions of this Order.
I further agree to submitconsent to the jurisdiction of the United States District Court for the

Northern District of California for the purpose of enforcing the terms of this Stipulated

Protective Order, even if such enforcement proceedings occur after termination of this action.


I hereby appoint __________________________ [print or type full name] of
_______________________________________ [print or type full address and telephone
number] as my California agent for service of process in connection with this action or any

proceedings related to enforcement of this Stipulated Protective Order.

Name of Individual: ______________________________

Present occupation/job description:




Name of Company or Firm:

Address:




                                                21-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 45 of 48




Date:

                                            [Signature]




                                      22-
         Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 46 of 48




                                           EXHIBIT A-1

    EXPERT/CONSULTANT ACKNOWLEDGMENT OF CONFIDENTIALITY AND

                 AGREEMENT TO BE BOUND BY PROTECTIVE ORDER


         I, _________________________, declare:

         1.    I reside at _____________________________________________
         2.    I have read the Protective Order Regarding The Disclosure and Use of Discovery
Material (“Order”) in Almeida v. Apple Inc., Civil Action NO. 3:21-CV-07109-VC, pending in the

Northern District of California.
         3.    I am familiar with the contents of the Order and agree to comply and be bound by

the provisions thereof.

         4.    I will not divulge to persons other than those specifically authorized by the Order,

and will not copy or use except solely for the purposes of this litigation and only as expressly
permitted by the terms of the Order, any Confidential information obtained pursuant to the

Order.

         5.    By signing below, I hereby agree to submit to the jurisdiction of the United States
District Court for the Northern District of California for resolving any and all disputes regarding
the Order and this Acknowledgment of Confidentiality. I further agree that any and all disputes

regarding the Order and this Acknowledgment of Confidentiality shall be governed by the laws
of the State of California, and that the district court for the Northern District of California shall

be the sole and exclusive venue for resolving any disputes arising from the Order and this
Acknowledgment of Confidentiality.
         6.    By signing below, I hereby confirm that I am not currently and do not currently

anticipate becoming an officer, director, or employee of, providing any form of consulting
services to, or becoming involved in any competitive decision-making on behalf of any

competitor of any Party with respect to the subject matter of this suit (including any product or

design specifications). I further agree that: (1) during the pendency of these proceedings I shall


                                                  23
-
        Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 47 of 48




not accept any position as an employee, officer, or director of any competitor of any Party; (2)

for the two years following the close of expert discovery or during the pendency of these
proceedings, whichever is shorter, I shall not consult with, or provide services to any competitor
of any Party; and (3) I shall not at any time, either during the pendency of these proceedings or

after conclusion of these proceedings, use or divulge any of the Confidential information made
available to me pursuant to the Order.



       I declare under penalty of perjury under the laws of the State of California that the
foregoing is true and correct.

       Date:Executed on ____________________ at ____________________
City and State where sworn and signed: _________________________________



Printed name: _______________________________


                                                     Name:

                                                     Address:




Signature: __________________________________




                                                24
-
Case 3:21-cv-07109-AMO Document 79 Filed 05/01/23 Page 48 of 48




                             Summary report:
   Litera® Change-Pro for Word 10.8.2.11 Document comparison done on
                          4/13/2023 11:07:39 AM
Style name: Default Style
Intelligent Table Comparison: Active
Original filename: CAND_StandardProtOrd.Feb2022.docx
Modified filename: Almeida - Protective Order.DOCX
Changes:
Add                                                    143
Delete                                                 93
Move From                                              3
Move To                                                3
Table Insert                                           1
Table Delete                                           1
Table moves to                                         0
Table moves from                                       0
Embedded Graphics (Visio, ChemDraw, Images etc.)       0
Embedded Excel                                         0
Format changes                                         0
Total Changes:                                         244
